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                                                                 Mar 20, 2024

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   did, with the intent to kill, injure, intimidate, and place under surveillance with intent to kill, injure,

   and intimidate another person, that is, VICTIM 1, use any interactive computer service and

   electronic communication service and electronic communication system and any other facility of

   interstate and foreign commerce to engage in a course of conduct that placed that person in

   reasonable fear of death or serious bodily injury to that person and an immediate family member,

   in violation of Title 18, United States Code, Sections 2261A(2)(A) and 2.

           Pursuant to Title 18, United States Code, Section 2261(b)(3), it is further alleged that the

   defendant used a dangerous weapon during the offense.

                                    OBJECT OF THE CONSPIRACY

           It was part of the conspiracy that BAYRON BENNETT, MICHAEL JOSE DULFO,

   JERREN KEITH HOWARD, EDNER ETIENNE and persons known and unknown to the

   Grand Jury discussed and planned the use of harassing, intimidating, and coercive tactics against

   VICTIM 1.

                           MANNER AND MEANS OF THE CONSPIRACY

           It was part of the conspiracy that BAYRON BENNETT, MICHAEL JOSE DULFO,

   JERREN KEITH HOWARD, EDNER ETIENNE and persons known and unknown to the

   Grand Jury formulated a plan and agreement which, among other things, included:

           1.      BAYRON BENNETT, MICHAEL JOSE DULFO, JERREN KEITH

   HOWARD, EDNER ETIENNE and their co-conspirators used facilities and channels of

   interstate commerce, that is cellular phones, electronic devices, internet search engines, websites,

   vehicle tracking devices, motor vehicles, the internet and cellular phone networks, to surveil

   VICTIM 1.


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          2.      BAYRON BENNETT, MICHAEL JOSE DULFO, JERREN KEITH

   HOWARD, EDNER ETIENNE and their co-conspirators coordinated arsons and a vehicle crash

   targeting VICTIM 1 or persons associated with VICTIM 1, such as VICTIM 2.

          3.      BAYRON BENNETT and MICHAEL JOSE DULFO made payments to

   participants in the conspiracy to stalk VICTIM 1 through the distribution ofUnited States currency,

   to include payments through internet platforms such as Cash App, an internet application that

   permits the transfer of currency from one individual to another.

                   OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

          In furtherance of the conspiracy, and to accomplish the object of the conspiracy, the

   following overt acts, among others, were committed:

          1.      On or about July 2, 2022, MICHAEL JOSE DULFO, JERREN KEITH

                  HOWARD, and persons known and unknown to the Grand Jury travelled to an

                  area near the residence of VICTIM 1 's sister, VICTIM 2, in Miami-Dade County.

          2.      On or about August 12, 2023, MICHAEL JOSE DULFO and EDNER

                  ETIENNE travelled to an area near the residence of VICTIM 1 's sister, VICTIM

                  2, in Miami-Dade County.

          3.      On or about August 30, 2023, MICHAEL JOSE DULFO, JERREN KEITH

                  HOWARD, and EDNER ETIENNE travelled to a Home Depot parking lot in

                  Miami-Dade County.

          4.      On or about August 30, 2023, MICHAEL JOSE DULFO, JERREN KEITH

                  HOWARD, and EDNER ETIENNE took possession of a rental truck from a

                  Home Depot in Miami-Dade County.

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           5.      On or about August 30, 2023, EDNER ETIENNE crashed a motor vehicle into

                   VICTIM l's motor vehicle while it was occupied by VICTIM 1.

           6.      On or about August 30, 2023, JERREN KEITH HOWARD and EDNER

                   ETIENNE had a telephone conversation.

           7.      On or about August 30, 2023, MICHAEL JOSE DULFO sent $200 to EDNER

                   ETIENNE via Cash App.

           All in violation of Title 18, United States Code, Section 371.

                                                 COUNT2
                                                  Stalking
                                          18 U.S.C. §2261A(2 )( A)

           Beginning from in or about June 2022, the exact date being unknown to the Grand Jury,

   and continuing through on or about March 7, 2024, in Miami-Dade County, in the Southern

   District of Florida and elsewhere, the defendants,

                                        BAYRON BENNETT,
                                      MICHAEL JOSE DULFO,
                                    JERREN KEITH HOWARD, and
                                         EDNER ETIENNE,

   did, with the intent to kill, injure, intimidate, and place under surveillance with intent to kill, injure,

   and intimidate another person, that is, VICTIM 1, use any interactive computer service and

   electronic communication service and electronic communication system and any other facility of

   interstate and foreign commerce to engage in a course of conduct that placed that person in

   reasonable fear of death or serious bodily injury, in violation of Title 18, United States Code,

   Sections 2261A(2)(A) and 2.




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          Pursuant to Title 18, United States Code, Section 226l(b)(3), it is further alleged that the

   defendants used a dangerous weapon during the offense.

                                              COUNT3
                         Use of Interstate Facilities in Aid of Racketeering
                                           18 U.S.C. § 1952(a)

          From on or about June 2022, through on or about July 2, 2022, in Miami-Dade County, in

   the Southern District of Florida and elsewhere, the defendants,

                                       BAYRONBENNETT,
                                    MICHAEL JOSE DULFO, and
                                     JERREN KEITH HOWARD,
    did knowingly use facilities in interstate and foreign commerce to distribute the proceeds of

    unlawful activity, commit any crime of violence to further unlawful activity, and otherwise

    promote, manage, establish, carry on, and facilitate the promotion, management, establishment,

    and carrying on of unlawful activity, and thereafter performed and attempted to perform an act

    to distribute the proceeds of unlawful activity, commit any crime of violence to further unlawful

    activity, and otherwise promote, manage, establish, carry on, and facilitate the promotion,

    management, establishment, and carrying on of unlawful activity, in violation of Title 18, United

    States Code, Sections 1952(a)(l ), (2) and (3), and 2.

          Pursuant to Title 18, United States Code, Section l 952(b), it is further alleged that the

   unlawful activity is Arson, in violation of Title 18, United States Code, Section 844(h) and (i), and

   Florida Statute 806.0l(l)(a) and (b).

          Pursuant to Title 18, United States Code, Section 1952(a)(B), it is further alleged that the

   use of facilities involved the intent to commit Stalking, in violation of Title 18, United States Code,

   Section 2261A(2)(A).



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                                               COUNT4
                                                 Arson
                                            18 u.s.c. § 844(i)

          On or about July 2, 2022, in Miami-Dade County, in the Southern District of Florida and

   elsewhere, the defendants,

                                      BAYRONBENNETT,
                                    MICHAEL JOSE DULFO, and
                                    JERREN KEITH HOWARD

   did maliciously damage and destroy, and attempt to damage and destroy, and cause to be damaged

   and destroyed by means of fire, a vehicle used in interstate and foreign commerce and in any

   activity affecting interstate and foreign commerce, in violation of Title 18, United States Code,

   Sections 844(i) and 2.

                                               COUNTS
                                    Use of Fire to Commit a Felony
                                           18 U.S.C. § 844(h)

          On or about July 2, 2022, in Miami-Dade County, in the Southern District of Florida and

   elsewhere, the defendants,

                                       BAYRONBENNETT,
                                    MICHAEL JOSE DULFO, and
                                    JERREN KEITH HOWARD,

   did knowingly use fire, namely the ignition of a flammable liquid previously poured on a motor

   vehicle, to commit a felony which may be prosecuted in a court of the United States, namely, Use

   oflnterstate Facilities in Aid of Racketeering, in violation of Title 18, United States Code, Section

   1952(a), and Stalking, in violation of Title 18, United States Code, Section 2261A(2), all in

   violation of Title 18, United States Code, Sections 844(h) and 2.



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                                              COUNT6
                         Use of Interstate Facilities in Aid of Racketeering
                                           18 U.S.C. § 1952(a)

          From on or about July 3, 2022, through on or about August 12, 2023, in Miami-Dade

   County, in the Southern District of Florida and elsewhere, the defendants,

                                       BAYRON BENNETT,
                                     MICHAEL JOSE DULFO,
                                   JERREN KEITH HOWARD, and
                                        EDNER ETIENNE,
    did knowingly use facilities in interstate and foreign commerce to distribute the proceeds of

    unlawful activity, commit any crime of violence to further unlawful activity, and otherwise

    promote, manage, establish, carry on, and facilitate the promotion, management, establishment,

    and carrying on of unlawful activity, and thereafter performed and attempted to perform an act

    to distribute the proceeds of unlawful activity, commit any crime of violence to further unlawful

    activity, and otherwise promote, manage, establish, carry on, and facilitate the promotion,

    management, establishment, and carrying on of unlawful activity, in violation of Title 18, United

    States Code, Sections 1952(a)(l), (2) and (3), and 2.

          Pursuant to Title 18, United States Code, Section 1952(b ), it is further alleged that the

   unlawful activity is Arson, in violation of Title 18, United States Code, Section 844(h) and (i), and

   Florida Statute 806.0l(l)(a) and (b).

          Pursuant to Title 18, United States Code, Section 1952(a)(B), it is further alleged that the

   use of facilities involved the intent to commit Stalking, in violation of Title 18, United States Code,

   Section 2261A(2)(A).




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                                               COUNT7
                                                 Arson
                                            18 u.s.c. § 844(i)

          On or about August 12, 2023, in Miami-Dade County, in the Southern District of Florida

   and elsewhere, the defendants,

                                      BAYRON BENNETT,
                                    MICHAEL JOSE DULFO,
                                  JERREN KEITH HOWARD, and
                                       EDNER ETIENNE,

   did maliciously damage and destroy, and attempt to damage and destroy, and cause to be damaged

   and destroyed by means of fire, a vehicle used in interstate and foreign commerce and in any

   activity affecting interstate and foreign commerce, in violation of Title 18, United States Code,

   Sections 844(i) and 2.

                                               COUNTS
                                    Use of Fire to Commit a Felony
                                           18 U.S.C. § 844(h)

          On or about August 12, 2023, in Miami-Dade County, in the Southern District of Florida

   and elsewhere, the defendants,

                                      BAYRON BENNETT,
                                    MICHAEL JOSE DULFO,
                                  JERREN KEITH HOWARD, and
                                       EDNER ETIENNE,

   did knowingly use fire, namely the ignition of a flammable liquid previously poured on a motor

   vehicle, to commit a felony which may be prosecuted in a court of the United States, namely, Use

   of Interstate Facilities in Aid of Racketeering, in violation of Title 18, United States Code, Section



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   1952(a), and Stalking, in violation of Title 18, United States Code, Section 2261A(2), all in

   violation of Title 18, United States Code, Sections 844(h) and 2.

                                     FORFEITURE ALLEGATIONS

          1.      The allegations of this Indictment are hereby re-alleged and by this reference fully

   incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

   property in which the defendants, BAYRON BENNETT, MICHAEL JOSE DULFO, JERREN

   KEITH HOWARD, and EDNER ETIENNE have an interest.

          2.      Upon conviction of a violation of Title 18, United States Code, Section 1952, as

   alleged in this Indictment, the defendant shall forfeit to the United States any property, real or

   personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title

   18, United States Code, Section 98l(a)(l)(C).

          3.      If any of the above-described forfeitable property, as a result of any act or omission

   of the defendant:

                  a. cannot be located upon the exercise of due diligence;

                  b. has been transferred or sold to, or deposited with, a third person;

                  c. has been placed beyond the jurisdiction of the Court;

                  d. has been substantially diminished in value; or

                  e. has been commingled with other property which cannot be subdivided without

                       difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and

   Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the

   defendant up to the value of the above forfeitable property.



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          All pursuant to Title 18, United States Code, Sections 981(a)(l(C), 982(a)(l), 924(d)(l),

   and the procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title

   28, United States Code, Section 2461(c).




                                              ,

   MARKENZY LAPOINTE
   UNITEDSTATES ATTORNEY




               UEZ, JR.
     ���r-n,�ITEDSTATES ATTORNEY




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

    Defendant's Name: BAYRON BENNETT

    Case No: -------------                             ------              ----------
    Count#: 1

    Conspiracy to Commit Stalking

    Title 18 United States Code Section 371
    * Max.Term of Imprisonment: 5 years
    * Mandatory Min.Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: 2 years
    * Max. Fine: $250,000

    Count#: 2

    Stalkin

    Title 18, United States Code, Section 226 lA
    * Max.Term of Imprisonment: 10 years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: 3 years
    *Max.Fine: $250,000

    Counts #: 3, 6

    Use of an Interstate Facility in aid of racketeering

    Title 18, United States Code, Section 1952
    *Max. Term of Imprisonment: 20 years
    *Mandatory Min.Term of Imprisonment (if applicable): N/A
    *Max.Supervised Release: 3 years
    * Max.Fine: $250,000




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name:      BAYRON BENNETT

   Case No: -------------------------------

   Counts#: 4, 7

   Arson

   Title 18, United States Code, Section 844(i)
   *Max.Tenn of Imprisonment: 20 years
   *Mandatory Min. Term of Imprisonment (if applicable): 5 years
   *Max. Supervised Release: 3 years
   *Max. Fine: $250,000

   Counts#: 5, 8

   Use of Fire in furtherance of a felony

   Title 18, United States Code, Section 844(h)
   *Max.Term of Imprisonment: 20 years
   *Mandatory Min. Term of Imprisonment (if applicable): 10 years for 1st offense, 20 years
   for subsequent offenses
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name: MICHAEL JOSE DULFO

   Case No: -------------------------------

   Count#: 1

   Conspiracy to Commit Stalking

   Title 18, United States Code, Section 371
   * Max. Term of Imprisonment: 5 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 2 years
   * Max. Fine: $250,000

   Count#: 2

   Stalkin

   Title 18, United States Code, Section 2261A
   * Max. Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts#: 3, 6

   Use of an Interstate Facility in aid ofracketeering

   Title 18, United States Code, Section 1952
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name: MICHAEL JOSE DULFO

   Case No: -------------------------------

   Counts #: 4, 7

   Arson

   Title 18, United States Code, Section 844(i)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min.Term of Imprisonment (if applicable): 5 years
   *Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Counts #: 5, 8

   Use of Fire in furtherance of a felony

   Title 18, United States Code, Section 844(h)
   *Max.Term of Imprisonment: 20 years
   *Mandatory Min. Term of Imprisonment (if applicable): 10 years for 1st offense, 20 years
   for subsequent offenses
   * Max. Supervised Release: 3 years
   *Max. Fine: $250,000




     *Refers·only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      JERREN KEITH HOWARD

   Case No: -----------------------�-------

   Count#: 1

   Conspiracy to Commit Stalking

   Title 18, United States Code, Section 371
   *Max.Term of Imprisonment: 5 years
   * Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: 2 years
   *Max. Fine: $250,000

   Count#: 2

   Stalkin

   Title 18, United States Code, Section 2261A
   *Max.Term of Imprisonment: 10 years
   *Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: 3 years
   *Max.Fine: $250,000

   Counts#: 3, 6

   Use of an Interstate Facility in aid of racketeering

   Title 18, United States Code, Section 1952
   *Max. Term of Imprisonment: 20 years
   *Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max.Supervised Release: 3 years
   *Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                             PENALTY SHEET

   Defendant's Name:       JERREN KEITH HOWARD

    Case No: -------------------------------

    Counts#: 4, 7

    Arson

    Title 18, United States Code, Section 844(i)
    * Max. Term of Imprisonment: 20 years
    * Mandatory Min. Term of Imprisonment (if applicable): 5 years
    * Max. Supervised Release: 3 years
    * Max. Fine: $250,000

    Counts#: 5, 8

    Use of Fire in furtherance of a felony

    Title 18, United States Code, Section 844(h)
    * Max. Term of Imprisonment: 20 years
    * Mandatory Min. Term of Imprisonment (if applicable): 10 years for pt offense, 20 years
    for subsequent offenses
    * MaL Supervised Release: 3 years
    * Max. Fine: $250,000




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

    Defendant's Name:      EDNER ETIENNE

   Case No: -------------                                 -----------------
    Count#: 1

    Conspiracy to Commit Stalking

    Title 18, United States Code, Section 371
    *Max. Term of Imprisonment: 5 years
    * Mandatory Min.Term of Imprisonment (if applicable): NIA
    *Max. Supervised Release: 2 years
    *Max. Fine: $250,000

    Count#: 2

    Stalkin

    Title 18, United States Code, Section 2261A
    *Max.Term of Imprisonment: 10 years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    *Max.Supervised Release: 3 years
    *Max. Fine: $250,000

    Count#: 6

   Use of an Interstate Facility in aid of racketeering

    Title 18, United States Code, Section 1952
    *Max. Term of Imprisonment: 20 years
    *Mandatory Min. Term of Imprisonment (if applicable): N/A
    *Max.Supervised Release: 3 years
    *Max.Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name:      EDNER ETIENNE

   Case No: ----- -------------------------

   Count#: 7

   Arson

   Title 18, United States Code, Section 844(i)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 5 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 8

   Use of Fire in furtherance of a felony

   Title 18, United States Code, Section 844(h)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): 10 years
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
